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N DISTRICT OF TEXAS

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IN THE UNITED STATES DISTRICT COUR Rul ~ 8 nis
FOR THE NORTHERN DISTRICT OF TEXA

FORT WORTH DIVISION CLERK, US. DISTRICT C COURT

Rea

   

By

UNITED STATES OF AMERICA a
v. No. 4:15-MJ-_ 28%
ROBIE LYNN SIMS (01)
CRIMINAL COMPLAINT
Concealing Person from Arrest
From or about June 25, 2015, to on or about July 2, 2015, in the Fort Worth
Division of the Northern District of Texas, defendant Robie Lynn Sims harbored and
concealed Billy Bullitt, a person for whose arrest a warrant and process had been issued
under the provisions of a law of the United States, so as to prevent the discovery and
arrest of Billy Bullitt, after notice and knowledge of the fact that a warrant and process
had been issued for the apprehension of Billy Bullitt, and which warrant had been issued

on a felony charge, in violation of Title 18 U.S.C. § 1071.

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

1. On June 25, 2015, at approximately 4:00 p.m., agents/officers with the Drug
Enforcement Administration (DEA) and the United States Marshal’s Service (USMS)
Fugitive Squad interviewed Robie Lynn Sims at the residence located at xxxx Tacoma
Drive, White Settlement, Texas. Robie Lynn Sims stated that she was the girlfriend of
Billy Bullitt and that she was currently living at the residence located at xxxx Tacoma
Drive. TFO Perry Moore then informed Robie Lynn Sims that Billy Bullitt had an

outstanding Federal Arrest Warrant for Conspiracy to Distribute a Controlled Substance.

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TFO Perry Moore then asked Robie Lynn Sims if she knew where Billy Bullitt was
currently living. Robie Lynn responded that she had last seen Billy Bullitt approximately
two weeks ago at the residence located at xxxx Tacoma Drive.
2. TFO Perry Moore then asked Robie Lynn Sims for consent to search the residence
at xxxx Tacoma Street, which she granted. Officers/Agents then began a systematic
search of the residence which resulted in the seizure of approximately 25 grams of
marijuana, a digital scale, four small metal grinders and two letters, one addressed to
Billy Bullitt and one to Billy and Robi at xxxx Tacoma Drive. TFO Perry Moore
provided Robie Lynn Sims one of his DEA business cards that contained his office and
cell phone numbers. TFO Perry Moore further asked Robie Lynn Sims to contact him
with any additional information regarding Billy Bullitt’s new residence. Robie Lynn Sims
stated that she would contact TFO Perry Moore if Billy Bullitt contacted her in the future.
3. On June 25, 2015, at approximately 5:08 p.m., members of the White Settlement
Police Department were dispatched to the residence of xxxx Tacoma Drive pursuant to a
911-call from the residence. Upon their arrival, officers spoke with the S. J., the owner
of xxxx Tacoma Drive who said that when she came home she discovered a white male
standing in the doorway of her daughter’s bedroom. S. J. said that the white male told
her his name was Billy Bullitt and that he was on the run. S. J. further said that Billy
Bullitt told her that he had a wife, kids and a baby on the way.

S. J. then said that she told Billy Bullitt that she did not care and wanted him out

of her house. S. J. then said that Billy Bullitt left through the back door of her residence.

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4, Agents/officers believe that Billy Bullitt was in fact living at xxxx Tacoma Street,
and that he fled the residence when agents/officers initially approached xxxx Tacoma
Street. Agents/officer furthermore believe that Robie Sims lied about Billy Bullitt’s
whereabouts so that he would have time to flee the residence. Billy Bullitt broke into the
residence at xxxx Tacoma Drive in order to avoid apprehension.

5. On July 2, 2015, agents/officers with the USMS Fugitive Squad located and
arrested Billy Bullitt at the La Quinta Inn & Suites, room #xxx, xxxx Bryant Irvin Blvd,
Fort Worth, Texas. At that time, agents/officers also located Robie Lynn Sims sleeping
in the bed with Billy Bullitt. Robie Sims had asked another person to rent the room for
her and Bullitt in order to avoid alerting authorities to Billy Bullitt’s location.

6. Although I have not listed all the facts regarding this event, I believe that the facts
stated here establish probable cause that the ndant has comy\itted a violation of Title

18 U.S.C. § 1071, Concealing Person from Afrest.

 

Pexty Mdpre
Task Force Officer
Drug Enforcement Administration

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SWORN AND SUBSCRIBED before me, at9.50 (2.50 Ghipm, this & day of July,
2015, in Fort Worth, Texas. 7

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